Case 8:25-cv-00951-PX   Document 211-22   Filed 07/02/25   Page 1 of 2




                   EXHIBIT Q
7/2/25, 1:39 PM         Stephen Miller on X: "What a moronic headline. MS-13 illegal alien Garcia was correctly deported to his home nation of El Salvador …
                     Case 8:25-cv-00951-PX                   Document 211-22                Filed 07/02/25              Page 2 of 2
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                  to his home nation of El Salvador and was subsequently indicted after new
                  evidence of especially heinous crimes. He is now being prosecuted. After a                                        Sign up with Apple
                  lengthy prison sentence, it is back home to El Salvador.
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